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                       Facebook, Inc., Meta Platforms, Inc., and Mark
                  7    Zuckerberg
                  8
                                                       UNITED STATES DISTRICT COURT
                  9
                                                  NORTHERN DISTRICT OF CALIFORNIA
                10
                                                          SAN FRANCISCO DIVISION
                11

                12     SUSAN LLOYD,                                         Case No. 3:21-cv-10075-EMC
                13                        Plaintiff,                        STIPULATION TO EXTEND TIME TO
                                                                            RESPOND TO COMPLAINT
                14             v.
                15     FACEBOOK, INC. ET AL.,
                                                                            Judge:       Hon. Edward M. Chen
                16                        Defendant.
                17

                18             Pursuant to Civil Local Rule 6-1(a), Plaintiff Susan Lloyd (“Plaintiff”) and Defendants

                19     Facebook, Inc., Meta Platforms, Inc., and Mark Zuckerberg (“Defendants,” and collectively, “the

                20     Parties”) hereby submit this Stipulation for Extension of Time for Defendants to Respond to

                21     Plaintiff’s Complaint. The Parties hereby stipulate as follows:

                22             1.     WHEREAS, Plaintiff filed the Complaint on December 27, 2021 in the Federal

                23     Northern District Court of the State of California San Francisco Division and effected service as of

                24     December 30, 2021;

                25             2.     WHEREAS, Defendants’ response to the Complaint is currently due on April 11,

                26     2022;

                27             3.     WHEREAS, the Parties had a telephone call to discuss the case on April 1, 2022;

                28                                                                 STIPULATION AND [PROPOSED] ORDER
ORRICK, HERRINGTON &                                                              FOR EXTENSION OF TIME OF ANSWER TO
    SUTCLIFFE LLP
                                                                                                      THE COMPLAINT
                                                                                                     3:21-CV-10075-EMC
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                  1           4.      WHEREAS, in the interest of efficiency and hopes of reaching a potential resolution

                  2    to the case, Plaintiff and Defendants (“Stipulating Parties”) have agreed to a 30-day extension for

                  3    Defendants to file a response to Plaintiff’s Complaint, making the new deadline for Defendants’

                  4    response May 11, 2022;

                  5           5.      THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and between

                  6    the Stipulating Parties, through their respective counsel, that the time for Defendants to answer or

                  7    otherwise respond to Plaintiff’s Complaint shall be extended to May 11, 2022.

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                  9    Date: April 8, 2022                         ORRICK, HERRINGTON & SUTCLIFFE LLP
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                11                                                 /s/ Jacob M. Heath
                                                                   Jacob M. Heath
                12                                                 Attorneys for Defendants
                                                                   Facebook, Inc., Meta Platforms, Inc., and Mark
                13                                                 Zuckerberg
                14     Date: April 8, 2022
                                                                   Pro se
                15
                                                                   /s/ Susan Lloyd
                16                                                 Susan Lloyd
                                                                   Plaintiff
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                28                                                                 STIPULATION AND [PROPOSED] ORDER
ORRICK, HERRINGTON &                                                              FOR EXTENSION OF TIME OF ANSWER TO
    SUTCLIFFE LLP                                                    -2-                              THE COMPLAINT
                                                                                                     3:21-CV-10075-EMC
                          Case 3:21-cv-10075-EMC Document 9 Filed 04/08/22 Page 3 of 3



                  1                          ATTESTATION RE: ELECTRONIC SIGNATURES

                  2           I, Jacob M. Heath, attest pursuant to Civil Local Rule 5-1(i)(3) that all other signatories to

                  3    this document, on whose behalf this filing is submitted, concur in the filing’s content and have

                  4    authorized this filing. I declare under penalty of perjury under the laws of the United States of

                  5    America that the foregoing is true and correct.

                  6    Date: April 8, 2022                          ORRICK, HERRINGTON & SUTCLIFFE LLP
                  7

                  8                                                 /s/ Jacob M. Heath
                                                                    Jacob M. Heath
                  9                                                 Attorneys for Defendants
                                                                    Facebook, Inc., Meta Platforms, Inc., and Mark
                10                                                  Zuckerberg
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                28                                                                 STIPULATION AND [PROPOSED] ORDER
ORRICK, HERRINGTON &                                                              FOR EXTENSION OF TIME OF ANSWER TO
    SUTCLIFFE LLP                                                    -3-                              THE COMPLAINT
                                                                                                     3:21-CV-10075-EMC
